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                                                                     May 15, 2025
 VIA ECF

 The Honorable Margo K. Brodie, U.S.D.J.
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re: United States v. Leissner, 18-CR-439 (MKB)

 Dear Chief Judge Brodie:

         Pursuant to this Court’s ECF Order dated May 13, 2025, we respectfully submit on behalf
 of our client Xavier Justo this letter seeking restitution pursuant to the Mandatory Victims
 Restitution Act (“MVRA”) and the Crime Victims’ Rights Act (“CVRA”) in connection with the
 sentencing of Defendant Tim Leissner in the above-captioned action.

          Mr. Leissner has portrayed himself as an ambitious banker who simply benefited from
 Goldman Sachs’s (“Goldman”) 1Malaysia Development Berhad (“1MDB”) bond deals. In
 reality, he was an architect of the 1MDB scheme—helping to establish 1MDB’s predecessor;
 devising the original bond fraud; and facilitating the ongoing cover-up of the scheme as a
 whole. By his own sworn admissions, Mr. Leissner participated in the scheme for nine years,
 leveraging the might of his co-conspirators Jho Low and Najib Razak—specifically, their
 political clout and ability to squash any investigation into 1MDB to shield him personally and
 the scheme as a whole.

         Mr. Justo is here because he got in the way of Mr. Leissner’s and his co-conspirators’
 plans after he shared critical documents with a journalist that exposed the criminal nature of the
 1MDB scheme. Mr. Justo manifested the precise risk that Mr. Leissner and his co-conspirators
 had for years identified and successfully managed: that someone would bring to light the fact
 that 1MDB was nothing more than a vehicle for the theft and misuse of billions of dollars. For
 taking public the necessary information that exposed 1MDB for what it was—a fraud—Mr. Justo
 suffered harms that were foreseeable to Mr. Leissner, who admittedly relied on his co-
 conspirators—in particular Malaysia’s Prime Minister Najib Razak—to squash any investigation
 of 1MDB and discredit and silence journalists and their sources who could expose the truth about
 1MDB. Razak’s influence over, and involvement in, ensuring Mr. Justo’s continued
 confinement is evident. As a result, Mr. Justo was forced to fund a battle for his freedom and
 restrained to a prison cell for a year and a half, resulting in the loss of his businesses.
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          Mr. Justo has waited a long time for this opportunity to be made whole. For the reasons
 below, we respectfully ask the Court to award Mr. Justo restitution of $18,266,909.31, which
 includes (i) $128,500 in costs directly flowing from Mr. Justo’s unlawful incarceration,
 (ii) $9,525,726 in lost property, (iii) $1,054.02 in expenses incurred during participation in the
 1MDB investigation, and (iv) $8,611,629.29 in pre-judgment interest.

                                              BACKGROUND

         On August 28, 2018, Mr. Leissner pled guilty to broad conspiracies to violate the Foreign
 Corrupt Practices Act (“FCPA”) and to launder money by paying bribes and kickbacks to obtain
 and retain hundreds of millions of dollars in business from 1MDB for his employer, Goldman,
 and by unlawfully using the U.S. financial system to channel the proceeds. 1 Through his plea,
 Mr. Leissner agreed to pay restitution for the full amount of victims’ losses in an amount to be
 determined at sentencing. 2

         A.       Mr. Leissner’s Role

        Mr. Leissner and his co-conspirators concealed a years-long, worldwide scheme. As a
 top Goldman banker in Asia, Mr. Leissner capitalized on Goldman’s desire at the time to “Be
 Goldman in More Places” by increasing its footprint in emerging markets like Southeast Asia
 and the Middle East. 3 Together with powerful key players in those markets—a Prime Minister
 with access to Malaysia’s sovereign wealth fund and a master deal closer with strong ties to
 government officials, Mr. Leissner remained at the forefront of one of the world’s largest
 kleptocracy schemes, specifically through underwriting fraudulent bond offerings for 1MDB. Its
 magnitude is evidenced in the Department of Justice’s civil complaint for forfeiture of assets
 associated with the various, overlapping phases of the 1MDB scheme. 4

         The Goldman relationship was critical to legitimize 1MDB and the actions of
 Mr. Leissner’s co-conspirators, Jho Low and Najib Razak, who directed all the transactions with
 1MDB. 5 Mr. Low was a graduate of the University of Pennsylvania’s Wharton School and
 socialite who had close ties to powerful government officials in the Middle East and Asia;

 1
     See generally Transcript of Plea Hearing of Tim Leissner, United States v. Leissner, No. 18-CR-439 (MKB)
 (E.D.N.Y. Aug. 28, 2018), ECF No. 47-1 (“Plea Hr’g Tr.”).
 2
     Plea Hr’g Tr. at 25:18-27:23.
 3
      Shira Ovide, Goldman Sachs Strategy: ‘Be Goldman in More Places,’ Wall St. J., Dec. 20, 2010,
 https://www.wsj.com/articles/BL-DLB-30007.
 4
    See Third Am. Compl., United States v. All Funds Constituting Arbitration Award in PetroSaudi v. PDVSA
 UNCITRAL Arbitration, No. 2:20-CV-8466 (C.D. Cal. July 6, 2021), ECF No. 90 (“All Funds Compl.”).
 5
     In the Information, Mr. Low is Co-conspirator #1 and Prime Minister Razak is Malaysian Official #1. See also
 Trial Transcript of Roger Ng at 460:25-462:4, United States v. Hwa, No. 18-CR-538 (MKB) (E.D.N.Y. Feb. 16,
 2022) (“Ng Trial Tr.”); Plea Hr’g Tr. at 38:4-7.
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 Mr. Razak was the Malaysian Prime Minister and Minister of Finance and, as Chairman of the
 1MDB Board, he was the ultimate decisionmaker for 1MDB and the transactions into which it
 entered. Mr. Low brought Mr. Leissner and his direct report, Roger Ng, into the 1MDB
 conspiracy to use Goldman to set up Terengganu Investment Authority (“TIA”), which would
 later become 1MDB. 6 Goldman’s involvement legitimized 1MDB as a credible new Malaysian
 sovereign wealth fund. Mr. Leissner admitted to deceiving Goldman compliance concerning Mr.
 Low’s involvement. As part of his crimes, Mr. Leissner would personally facilitate billions of
 dollars in fraudulent bond transactions between Goldman and 1MDB so that he and his co-
 conspirators could profit billions of dollars in kickbacks.

         Mr. Leissner was central to the 1MDB conspiracy. He advised on the formation of TIA,
 resulting in a modest fee to Goldman, which typically would not justify Goldman’s
 involvement—unless someone like Mr. Leissner took the long view. 7 After establishing TIA,
 Mr. Leissner and Mr. Ng leveraged Mr. Low’s connections to government officials in Malaysia,
 including its then-prime minister, to pursue government projects for Goldman. 8 In 2012 and
 2013, Mr. Leissner was central to structuring and executing three major bond issuances for
 1MDB—Projects Magnolia, Maximus, and Catalyze—which raised $6.5 billion. 9 The stated
 objective of Magnolia and Maximus was to raise funds for 1MDB to acquire energy and
 infrastructure projects intended to benefit the Malaysian public. 10 But in reality, the majority of
 the funds were used for bribes and kickbacks and, in the case of Catalyze, to corruptly funnel
 funds to support Prime Minister Najib Razak’s re-election campaign, which was critical to the
 continuation and ongoing concealment of the scheme for the next five years by securing Prime
 Minister Najib Razak’s re-election. 11

         From the start of 1MDB, Mr. Leissner, Mr. Ng, and their co-conspirators sought to
 expand the scope of their criminal enterprise, including initially to profit from a fraudulent joint
 venture between 1MDB and an oil services company called PetroSaudi, in which Mr. Justo’s
 then-friend, Tarek Essam Ahmad Obaid and his associate, Patrick Mahony, were shareholders or
 managers. Having established the vehicle that became 1MDB, Mr. Leissner and Mr. Ng planned

 6
     Information ¶¶ 21-22, United States v. Leissner, No. 18-CR-439 (MKB) (E.D.N.Y. Aug. 28, 2018), ECF
 No. 16.
 7
      See Ng Trial Tr. (Feb. 16, 2022) at 421:7-10; id. (Feb. 22, 2022) at 584:7-586:4.
 8
      See Ng Trial Tr. (Feb. 22, 2022) at 613:21-615:4.
 9
      See Ng Trial Tr. (Feb. 16, 2022) at 382:10-16.
 10
      Ng Trial Tr. (Feb. 16, 2022) at 400:1-11.
 11
      Id.; Emir Zainul & Timothy Achariam, 1MDB funds were used for Umno's election campaign during GE13,
 ex-CEO claims, The Edge Malaysia (Sept. 15, 2020), https://theedgemalaysia.com/article/1mdb-funds-were-used-
 umnos-election-campaign-during-ge13-exceo-claims (“Former prime minister . . . Razak had used part of the US$3
 billion raised by 1Malaysia Development Bhd (1MDB) . . . as part of . . . campaigning leading up to the 2013
 General Elections.”).
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 for Goldman to become involved with and ultimately profit off this critical initial arm of the
 1MDB scheme through foreign exchange transactions in support of 1MDB’s $1 billion
 investment in 1MDB’s joint venture with PetroSaudi. 12 Their efforts were initially unsuccessful,
 but eventually paid off when Goldman secured billions of dollars of business through 1MDB in
 three subsequent bond issuances.

         As part of later efforts to conceal the misuse of the $1 billion investment in PetroSaudi,
 Mr. Leissner attempted to leverage his investment banking connections to obtain a $1 billion
 valuation of PetroSaudi-owned drillships and related contracts (previously overseen by Mr. Justo
 during his time at PetroSaudi, as detailed below) that were worth only a fraction of that cost. 13
 When that effort failed, the co-conspirators instead concocted opaque and empty transactions
 that allowed 1MDB to artificially inflate the value of these assets. 14 Then, through Project
 Catalyze, Mr. Leissner and Goldman structured and underwrote $3 billion of bonds with a stated
 purpose to invest in a joint venture with a wholly owned, indirect subsidiary of the Abu Dhabi
 government. 15 In reality, in addition to supporting Prime Minister Najib Razak’s re-election,
 those funds were used to repay loans 1MDB had obtained to conceal losses from its PetroSaudi
 investment. 16 With the press and 1MDB’s auditors, KPMG, raising questions about the
 legitimacy of the PetroSaudi deal and the mounting pressure to conceal massive losses,
 concealment was an ongoing priority.

         Indeed, Mr. Leissner testified repeatedly at Mr. Ng’s trial that one of the largest threats to
 the scheme was “criticism in the press and questions from the press” around 1MDB’s
 transactions. 17 The “highly critical” media attention was a “recurring” subject of concern with




 12
     See Ng Trial Tr. (Feb. 22, 2022) at 634:11-635:24; 637:18-639:23. Mr. Leissner testified during Mr. Ng’s trial
 about his role in trying to procure business from PetroSaudi and about his belief that his co-conspirators—Mr. Low
 and Prime Minister Razak—profited from business transactions with PetroSaudi through 1MDB. See id. at 637:18-
 639:23.
 13
      X. Justo Decl. ¶¶ 21; see also All Funds Compl. ¶¶ 133-48.
 14
     X. Justo Decl. ¶ 21 (describing Bridge Global transactions through Brazen Sky); see also All Funds Compl.
 ¶¶ 133-48.
 15
      See Information ¶ 41; All Funds Compl. ¶ 296.
 16
     Ng Trial Tr. (Feb. 16, 2022) at 400:1-11; All Funds Compl. ¶¶ 100-02, 129-30; Emir Zainul & Timothy
 Achariam, 1MDB funds were used for Umno's election campaign during GE13, ex-CEO claims, The Edge Malaysia
 (Sept. 15, 2020), https://theedgemalaysia.com/article/1mdb-funds-were-used-umnos-election-campaign-during-
 ge13-exceo-claims (Project Catalyze funds were used for Razak’s election expenses, as well as “to repay debt to
 Standard Chartered which was previously borrowed to fund 1MDB’s investments in Petro Saudi”).
 17
     See, e.g., Ng Trial Tr. (Feb. 24, 2022) at 1005:11-13; id. at 1124:6-9 (testifying as to concern about “any press
 around these deals”).
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 Mr. Leissner and his co-conspirators. 18 Mr. Leissner explained that he received comfort,
 however, from his co-conspirator Prime Minister Razak’s power and ability to “diminish or
 squash any kind of investigation that could happen otherwise around 1MDB and the bonds,”
 which was key to the continued concealment of the scheme and the ill-gotten gains. 19 Mr.
 Leissner further testified that he and his co-conspirators attempted to discredit journalist Clare
 Rewcastle Brown’s articles in the well-known Sarawak Report that threatened the 1MDB
 scheme through counternarratives and other countermeasures. 20

          B.       Mr. Justo’s Time at PetroSaudi

         In early 2010, after PetroSaudi had secured the above-mentioned $1 billion 1MDB
 investment, Mr. Obaid and Mr. Mahony recruited Mr. Justo to work for PetroSaudi in its newly
 established London office. 21 Mr. Justo had previously served as a director of various companies
 within the PetroSaudi group for several years. 22

          Mr. Justo was focused on PetroSaudi’s operations in Venezuela, where he handled
 critical negotiations and deals for PetroSaudi. 23 During his employment, Mr. Justo had minimal
 insight into PetroSaudi’s finances, the PetroSaudi-1MDB joint venture, or any other aspect of
 1MDB. 24 Mr. Justo met Mr. Low two times during his tenure at PetroSaudi, and both times
 Mr. Justo was urged by Mr. Obaid and Mr. Mahony not to discuss business with Mr. Low. 25 As
 time progressed, Mr. Justo’s compensation fell far short of what he was promised, including
 months of missed salary and bonuses. 26 In April 2011, Mr. Justo’s relationship with Mr. Obaid
 18
      See id. at 1125:6-9 (testifying that Mr. Ng “expressed his concerns about the press as well, that, you know, was
 being highly critical of our deals. That did not feel comfortable to neither him nor myself.”); id. at 1173:25-1174:3
 (testifying that increasing negative media was discussed with Mr. Ng “all the time” as a “concern because it was
 really was [sic] a recurring thing”).
 19
      See id. at 1124:8-1125:1 (“I drew some comfort at the time from the fact that Prime Minister Najib had one [sic]
 the election post Project Catalyze and that comfort sort of outweighed the concerns of the press. . . . [H]ad he lost
 the election, the bond deals at 1MDB itself would have gone under great scrutiny. Reversely, since he won, he was
 able to, in my view, diminish or squash any kind of investigation that could happen otherwise around 1MDB and the
 bonds. So I took comfort that while there may be noise in the press, in actuality there was likely very little that was
 going to be done about those bonds and the kickback in the scheme that came from it.”).
 20
    See, e.g., Ng Trial Tr. (Feb. 22, 2022) at 1126:8-1127:10 (testifying that Jasmine Loo, former general counsel to
 1MDB, was asking “for points to counter the claims that Sarawak [R]eport is making in the article”).
 21
     Decl. of Xavier Justo, dated May 13, 2025 (“X. Justo Decl.”), ¶¶ 13-15. Mr. Obaid and Mr. Mahony have been
 convicted in Switzerland for their role embezzling more than a billion dollars from 1MDB.
 22
      X. Justo Decl. ¶¶ 10-11.
 23
      X. Justo Decl. ¶ 19.
 24
      X. Justo Decl. ¶¶ 16-18.
 25
      X. Justo Decl. ¶¶ 17-18.
 26
      X. Justo Decl. ¶ 22.
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 soured and Mr. Justo resigned. 27 Mr. Justo and PetroSaudi agreed to 6.5 million Swiss Francs as
 severance to address, among other things, his unpaid compensation, reimbursable expenses, and
 the profit Mr. Justo’s efforts had generated. 28 Under threat that Mr. Obaid’s lawyer would take
 action against him, however, Mr. Justo accepted an immediate payment of 4 million Swiss
 Francs, although he maintained he was due the remainder of the agreed-upon severance. 29

         By the time of his departure, Mr. Justo had become suspicious that all was not what it
 seemed at PetroSaudi. 30 After observing the secretive nature of PetroSaudi’s relationship with
 Mr. Low and PetroSaudi’s refusal to pay Mr. Justo’s agreed-upon severance, Mr. Justo became
 concerned that Mr. Obaid and others were withholding information from him. 31 In light of his
 growing apprehensions concerning PetroSaudi’s business operations, Mr. Justo wanted to be in a
 position, if needed, to prove he had no involvement in any questionable conduct. 32 To that end,
 Mr. Justo procured a copy of the PetroSaudi server from PetroSaudi’s IT manager, who had
 recently been instructed by Mr. Obaid to delete the server. 33

         In 2012, Mr. Mahony began attempting to recruit Mr. Justo back to PetroSaudi,
 acknowledging that PetroSaudi would make good on its obligation to pay him 2.5 million Swiss
 Francs in outstanding severance. 34 These conversations unfolded over the next year and a half. 35
 Finally, in October 2013, Mr. Mahony and Mr. Justo met in Thailand, where Mr. Justo had
 moved, and discussed Mr. Justo’s severance. 36 Upon Mr. Mahony’s request, Mr. Justo showed
 Mr. Mahony some of the PetroSaudi data in Mr. Justo’s possession. 37 PetroSaudi did not follow
 through on re-hiring Mr. Justo or its promise to pay Mr. Justo the remainder of his severance. 38




 27
      X. Justo Decl. ¶¶ 23-24.
 28
      X. Justo Decl. ¶ 25.
 29
      X. Justo Decl. ¶¶ 26-27.
 30
      X. Justo Decl. ¶¶ 20-21, 28.
 31
      X. Justo Decl. ¶¶ 20-21, 28-29.
 32
      X. Justo Decl. ¶ 28.
 33
      X. Justo Decl. ¶¶ 28-29.
 34
      X. Justo Decl. ¶¶ 27, 35.
 35
      X. Justo Decl. ¶ 36.
 36
      X. Justo Decl. ¶ 37.
 37
      X. Justo Decl. ¶ 37.
 38
      X. Justo Decl. ¶ 37.
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           C.       Mr. Justo Exposes the 1MDB Scheme

         In spring 2014, the journalist Clare Rewcastle Brown contacted Mr. Justo to speak about
 PetroSaudi, 1MDB, and Malaysian government corruption. 39 There had been growing suspicion
 around 1MDB and PetroSaudi in the press. By fall 2014, the 1MDB scheme was on the brink of
 exposure and imminent collapse. 1MDB’s auditor since 2010—KPMG—had refused to approve
 1MDB’s 2013 financial statements due to irregular activity with one of 1MDB’s subsidiaries that
 held residual assets from the PetroSaudi investment. 40 To avoid inevitable exposure,
 Mr. Leissner’s co-conspirators engaged in a series of fraudulent transactions to disguise the
 irregularities that stemmed from the PetroSaudi deal and threatened to expose the entire 1MDB
 scheme and convinced a new auditor—Deloitte—to approve the financial statements. 41

        After several conversations, Mr. Justo shared documents from the PetroSaudi server with
 Ms. Rewcastle Brown who relied on those documents to publish “Heist of the Century” on
 Sarawak Report in February 2015. 42 The article exposed Mr. Low for laundering money out of
 1MDB through PetroSaudi and prompted investigations around the globe, ultimately leading to
 the U.S. Department of Justice charging Mr. Leissner and Mr. Ng and entering into plea or
 deferred prosecution agreements with multiple Goldman entities. 43 Mr. Leissner was
 subpoenaed by the FBI and left Goldman in February 2016, but continued to engage in criminal
 conduct with Mr. Low and Prime Minister Razak in furtherance of the conspiracy. 44

           D.       Mr. Leissner’s Co-conspirators Retaliate Against Mr. Justo

        On June 22, 2015, years after Mr. Justo’s discussions with PetroSaudi regarding his re-
 employment and unpaid severance but only months after “Heist of the Century” was published,
 Mr. Justo was arrested in Thailand on trumped up charges—initiated by PetroSaudi—of
 attempted extortion and blackmail. 45 He was ripped away from his family and the life they were
 building in Thailand. While imprisoned, Mr. Justo received several visits from Mr. Mahony, the
 Malaysian police, and a purported Scotland Yard officer working with PetroSaudi to force six

 39
       X. Justo Decl. ¶ 39.
 40
       See All Funds Compl. ¶¶ 146-47; Ng Trial Tr. (Mar. 7, 2022) at 2116:6-16.
 41
       All Funds Compl. ¶¶ 147-48, 434-52, 882-97; Information ¶¶ 44, 48(e); Ng Trial Tr. (Feb. 16, 2022) at 387:16-
 24.
 42
       X. Justo Decl. ¶¶ 40-42.
 43
     See, e.g., Mem. of Law in Supp of Def. Roger Ng’s Mot. to Dismiss the Indictment at 11, 22-23, United States
 v. Hwa, No. 18-CR-538 (MKB) (E.D.N.Y. Nov. 20, 2020), ECF No. 50-1 (“Ng MTD”) (characterizing
 Ms. Rewcastle Brown’s article as “[t[he article breaking the story” of the 1MDB fraud).
 44
     Ng Trial Tr. (Feb. 16, 2022) at 379:9-380:13; Ng Trial Tr. (Feb. 24, 2022) at 959:23-960:24; 1134:13-1136:9;
 Ng Trial Tr. (Mar. 1, 2022) at 1265:22-1267:21; Information ¶ 1.
 45
       X. Justo Decl. ¶ 44.
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 false “confessions” by promising Mr. Justo that his only viable pathway to prompt exoneration
 and freedom was to admit these untrue accounts. 46 PetroSaudi also hired Swiss and local Thai
 attorneys to handle press and replace the Thai counsel that initially represented Mr. Justo. 47

          The focus of the “confessions” and related orchestrated press coverage was undermining
 Ms. Rewcastle Brown’s reporting in Sarawak Report to ensure that Mr. Leissner’s co-
 conspirators, Mr. Low and Prime Minister Razak, would not be further exposed—which was part
 and parcel with the strategy Mr. Leissner and his co-conspirators earlier employed to discredit
 Sarawak Report stories that threatened 1MDB. 48 Mr. Mahony separately told Mr. Justo and his
 wife that Prime Minister Razak was controlling Mr. Justo’s fate. 49 Within months of Mr. Justo’s
 arrest, Prime Minister Razak began taking additional extreme measures to silence other 1MDB
 critics threatening to expose the scheme. 50

         In August 2015, Mr. Justo was convicted of blackmail in Thailand and sentenced to years
 in prison. 51 During the later stages of his incarceration, Mr. Justo hired attorneys to help secure
 his release, which work occurred alongside the tireless efforts of his wife. 52 Those efforts
 included an agreement to relocate Mr. Justo to Switzerland, but in 2016 Swiss authorities
 confirmed that Prime Minister “Razak took the opportunity of his official visit to Thailand and
 key talks on border cooperation, in order to personally interfere in the case of . . . Xavier Justo,”




 46
      X. Justo Decl. ¶¶ 55-56.
 47
      X. Justo Decl. ¶¶ 57, 61.
 48
      X. Justo Decl. ¶¶ 55-57; Ng Trial Tr. (Feb. 22, 2022) at 1126:8-1127:10 (Leissner testifying about co-
 conspirator’s efforts to identify “points to counter the claims that Sarawak [R]eport is making in the article” that
 threatened the conspiracy).
 49
      X. Justo Decl. ¶¶ 52, 65, Decl. of Laura Justo, dated May 13, 2025 (“L. Justo Decl.”) ¶¶ 14-15.
 50
      In July 2015, Prime Minister Razak removed the Deputy Prime Minister after he publicly called on Prime
 Minister Razak to answer questions about 1MDB. At the same time, Malaysia’s Attorney General, who was one of
 the leaders of a probe into 1MDB, was either removed from office or pressured to resign by Prime Minister Razak.
 See Austin Ramzy, Malaysia’s Premier Dismisses Deputy and Attorney General Amid Scandal, N.Y. Times, July
 28, 2015, https://www.nytimes.com/2015/07/29/world/asia/amid-1mdb-scandal-najib-razak-dismisses-deputy-
 prime-minister-and-attorney-general.html; Oliver Holmes, Former Malaysian attorney general planned charges
 against PM – report, The Guardian, Mar. 28, 2016, https://www.theguardian.com/world/2016/mar/28/former-
 malaysian-attorney-general-planned-charges-against-pm-report. Then, in August 2015, Malaysia issued an arrest
 warrant for journalist Clare Rewcastle Brown after she exposed Prime Minister Razak’s receipt of $700 million
 from 1MDB into his personal bank account. See Refused! – INTERPOL Rejects Najib’s ‘Red Notice’ Request
 Against Sarawak Report, Sarawak Report, Aug. 28, 2015, http://www.sarawakreport.org/2015/08/refused-interpol-
 rejects-najibs-red-notice-request-against-sarawak-report/.
 51
      X. Justo Decl. ¶ 60.
 52
      X. Justo Decl. ¶ 73; L. Justo Decl. ¶ 22.
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 referring to the abrupt termination of the relocation agreement. 53 Officials from the FBI tried to
 visit Mr. Justo while he was incarcerated in Thailand and, despite following procedure, were
 turned away. 54 These officers viewed Mr. Justo as a potential witness in the 1MDB investigation
 and were perplexed by their inability to access him. 55 Given this unusual restriction on access,
 Mr. Justo’s wife traveled to London to share information with the FBI on Mr. Justo’s behalf. 56
 Mr. Justo remained in a Thai prison for 18 months until he was granted an early release, along
 with 30,000 other inmates, on December 20, 2016. 57 After his release and return to Switzerland,
 Mr. Justo was informed that he would be refused entry to Thailand for the next hundred years. 58

         Mr. Justo is grateful to have been reunited with his family, but he has yet to be made
 whole for the losses he suffered. He incurred significant costs as a direct result of his unlawful
 incarceration, was unable to operate and forced to sell at a fraction of its value a luxury resort
 that he planned to operate in Thailand, lost business as a result of his conviction, and incurred
 expenses participating in the FBI’s investigation of 1MDB that ultimately led to Mr. Leissner’s
 conviction.

                                     REQUEST FOR RESTITUTION

 I.       Mr. Justo is Entitled to Mandatory Restitution Under the MVRA

         “The ‘primary and overarching’ goal of the MVRA is ‘to make victims of crime whole,
 to fully compensate these victims for their losses and to restore these victims to their original
 state of well-being.’” United States v. Qurashi, 634 F.3d 699, 703 (2d Cir. 2011). Accordingly,
 the MVRA mandates that victims of qualifying criminal offenses must receive restitution from
 the defendant to make them whole for the losses they suffered as a result of the crime.




 53
      See Confirmed – Najib Demanded That Thailand Should Not Release Justo!, Sarawak Report, Sept. 17, 2016,
 https://www.sarawakreport.org/2016/09/confirmed-najib-demanded-that-thailand-should-not-release-justo/.
 54
      L. Justo Decl. ¶ 13. One of the agents with whom Mrs. Justo corresponded and cooperated included an agent
 that participated in the Eastern District’s investigation of Mr. Leissner’s co-conspirator, Roger Ng. See, e.g.,
 Statement of United States Attorney Breon Peace on the Verdict in U.S. v. Roger Ng, U.S. Attorney’s Office for the
 Eastern District of New York (Apr. 8, 2022) https://www.justice.gov/usao-edny/pr/statement-united-states-attorney-
 breon-peace-verdict-us-v-roger-ng (listing FBI Supervisory Special Agent Robert Heuchling as part of the 1MDB
 investigatory team).
 55
      L. Justo Decl. ¶ 13.
 56
      L. Justo Decl. ¶¶ 35-41.
 57
      X. Justo Decl. ¶¶ 65-66.
 58
      X. Justo Decl. ¶ 67.
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             A.       Mr. Leissner Pled Guilty to a Qualifying Offense Under the MVRA

           The MVRA requires restitution for any “offense against property under [Title 18] . . .
  including any offense committed by fraud or deceit . . . in which an identifiable victim or victims
  has suffered a . . . pecuniary loss.” 18 U.S.C. § 3663A(c)(1). Mr. Leissner pled guilty to
  conspiracies with Mr. Low and former Prime Minister Razak, among others, to violate the FCPA
  and launder money by paying bribes and kickbacks for hundreds of millions of dollars in
  business from 1MDB for Goldman and by unlawfully using the U.S. financial system to conceal
  the proceeds. 59 By his own admission, Mr. Leissner participated in the conspiracy for years,
  including after murmurings about 1MDB that led to an internal Goldman investigation resulting
  in Goldman firing Mr. Leissner. 60 As Mr. Leissner acknowledged, he is required to make
  restitution under the MVRA because he pled guilty to these crimes against property under
  Title 18. 61

             B.       Mr. Justo is a Victim Under the MVRA

         Mr. Justo is a victim of Mr. Leissner’s FCPA and money laundering conspiracies. The
  MVRA defines a “victim” as “a person directly and proximately harmed as a result of the
  commission of [the] offense . . . including, . . . any person directly harmed by the defendant’s
  criminal conduct in the course of the scheme, conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2).

                      (i)      Mr. Leissner Pled Guilty to a Broad Conspiracy

          Restitution is properly ordered when the conduct harming the victim is “a significant part
  of the greater fraud”—in other words, restitution is proper for losses incurred in service of the
  offense of conviction. United States v. Paul, 634 F.3d 668, 676-77 (2d Cir. 2011) (holding that
  victim’s losses resulted from a “significant part of the greater fraud” to which defendant pled
  guilty). In conspiracy cases, “Congress broadened the scope of restitution from losses
  attributable solely to the offense of conviction to all losses caused in course of a defendant’s
  criminal conduct, whether the defendant is convicted of each of those offenses or not.” United
  States v. Gioeli, 2019 WL 6173421, at *7 (E.D.N.Y. Nov. 20, 2019) (quoting United States v.
  Boyd, 222 F.3d 47, 51 (2d Cir. 2000)); see also United States v. Lucien, 347 F.3d 45, 54 (2d Cir.
  2003) (holding trial court lacked authority to consider unindicted co-conspirators as jointly and
  severally liable for restitution). This includes responsibility for “losses flowing from the
  reasonably foreseeable ‘actions of that defendant’s co-conspirators.’” United States v. Goodrich,
  12 F.4th 219, 228 (2d Cir. 2021); accord United States v. Bengis, 631 F.3d 33, 42 n.3 (2d Cir.

  59
         See generally Plea Hr’g Tr.
  60
       Ng Trial Tr. (Feb. 16, 2022) at 379:9-380:13; Ng Trial Tr. (Feb. 24, 2022) at 959:23-960:24; 1134:13-1136:9;
  Ng Trial Tr. (Mar. 1, 2022) at 1265:22-1267:21; Sentencing Memorandum, ECF No. 87, at 2; Information ¶ 1
  (noting Mr. Leissner remained employed at Goldman until early 2016).
  61
       Plea Hr’g Tr. at 25:18-27:23.
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  2011) (although defendants pled guilty to illegal importation, not harvesting, of lobsters, holding
  that defendants’ conduct—even though they did not “personally harvest[] the lobsters”—
  nonetheless deprived victim of property rights and provided basis for restitution). That is
  because, in the case of a conspiracy, the “essence” of the offense is the agreement to the
  “common plan of the conspiracy.” Goodrich, 12 F.4th at 228-29 (emphasis in original). Thus,
  by virtue of Mr. Leissner’s agreement to the conspiracies, restitution for all losses flowing from
  the reasonably foreseeable actions of his co-conspirators is “rooted in” Mr. Leissner’s criminal
  conduct. See id. at 229; United States v. Lebedev, 932 F.3d 40, 57 (2d Cir. 2019), abrogated in
  part on other grounds by Ciminelli v. United States, 598 U.S. 306 (2023) (rejecting argument
  that restitution was improper because losses were caused “by conduct postdating the conspiracy
  for which he was convicted”).

          Mr. Leissner agreed to participate—and take a central role in—a broad, worldwide
  conspiracy that carried on for nearly a decade. As detailed above, Mr. Leissner was at the heart
  of the formation of 1MDB and Projects Magnolia, Maximus, and Catalyze. 62 But the real key to
  the criminal scheme was the perpetual concealment of the diversion and misappropriation of the
  billions in 1MDB’s illicit proceeds. This led to the 1MDB conspiracy’s longevity. With all
  transactions flowing through 1MDB, the scheme operated much like a classic integrated Ponzi
  scheme where losses associated with bribes and kickbacks extracted from prior transactions
  could only be covered by additional transactions, and exposure of any individual transaction
  presented an essential risk to the entire scheme.

           The ongoing concealment of this broad conspiracy was a critical element of Mr.
  Leissner’s offense of conviction, permeating every phase and aspect of the 1MDB conspiracy. 63
  It was essential to the scheme that 1MDB continue to be accepted as a legitimate sovereign
  wealth fund with the full backing of the Malaysian state and Goldman. Mr. Low and Mr.
  Leissner conspired in the original formation of 1MDB, leveraging Mr. Leissner’s role at
  Goldman to confer instant credibility on 1MDB, while Prime Minister Razak provided a cloak of
  Malaysian governmental authority and wielded the power to “diminish or squash” any attempts
  to question the scheme. 64 See, e.g., United States v. Berger, 224 F.3d 107, 115 (2d Cir. 2000)
  (noting that “common purpose, overlapping participants, and mutual dependence” are hallmarks
  of a single overarching conspiracy); Gioeli, 2019 WL 6173421, at *8 (requiring defendant to pay
  restitution for uncharged or acquitted conduct when defendant was active in the enterprise, relied
  on his associates perpetuating the times, and knowingly profited from their actions).

          Mr. Leissner directly participated in efforts to disguise losses of 1MDB, including some
  related to PetroSaudi. When Mr. Leissner was leading the bond issuances for Projects Magnolia
  and Maximus in 2012—to purchase energy and infrastructure assets—the losses stemming from
  62
       See supra Section A.
  63
       Plea Tr. 17:18-18:1; 38:12-39:2; 39:15-21; 39:22-40:9; Compl., ECF No. 1 ¶¶ 17, 45-49, 56-59, 66, 73-74.
  64
       Ng Trial Tr. (Feb. 24, 2022) at 1124:8-1125:9.
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  the bribes and kickbacks associated with the original PetroSaudi deal in 2009 remained
  unresolved. Mr. Leissner tried to help but was unable to inflate PetroSaudi’s assets sufficiently
  to cover the losses. 65 Instead, 1MDB hid the PetroSaudi losses in a sham Cayman Fund
  structure, Bridge Global, in a subsidiary called Brazen Sky. 66 Moreover, Mr. Leissner’s and
  Goldman’s underwriting of $3 billion of bonds through Project Catalyze also spawned the
  misuse of funds to support Prime Minister Najib Razak’s reelection and cover up 1MDB’s
  PetroSaudi losses. 67 As another example, Mr. Leissner was involved with the 1MDB co-
  conspirators efforts to carefully monitor the press to prepare counterefforts to facilitate the
  silencing and undercutting of critics. 68 Only on May 9, 2018, nine years after the formation of
  1MDB, and the day Prime Minister Razak lost re-election in Malaysia and could no longer assert
  his authority in furtherance of the concealment of the conspiracy, did Mr. Leissner cash out. 69

                    (ii)      Mr. Justo Was Directly and Proximately Harmed by Mr. Leissner’s
                              Conspiracies

          Absent the FCPA and money laundering conspiracies that Mr. Leissner agreed to and
  actively participated in, Mr. Justo would not have been prosecuted and imprisoned. As Mr.
  Mahony told Mrs. Justo, Prime Minister Razak had Mr. Justo jailed to cast doubt on the
  information he released to Ms. Rewcastle Brown that threatened revealing the prime minister’s
  participation in 1MDB. 70 The facts of his arrest bear this out. Mr. Justo last met with Mr.
  Mahoney in October 2013 and no charges were brought for two years. Yet, within months of the
  publication of “Heist of the Century,” charges dating back to conduct from October 2013
  surfaced. 71 On a recorded call, Mr. Mahony confirmed to Mrs. Justo that Prime Minister Razak
  ultimately controlled Mr. Justo’s imprisonment. As reflected in Mrs. Justo’s declaration and its
  Exhibit 5 transcribing that call, Mr. Mahony told her: “There is a prime minster of a country
  [Najib Razak] who is in a mess;” “[t]his guy [Najib Razak], he continues to stress. It’s his
  political career that is a bit in the shit here;” and “In the meantime, [we] continue to be in shit
  because of the media and only because of the media. So, if you want to help your husband, help

  65
       X. Justo Decl. ¶ 21.
  66
       X. Justo Decl. ¶ 21.
  67
       See supra notes 15-16 and accompanying text.
  68
      See, e.g., Ng Trial Tr. (Feb. 24, 2022) at 1126:8-1127:10 (testifying that former 1MDB general counsel Jasmine
  Loo was asking for ways to discredit Sarawak Report’s claims).
  69
       In public filings with the SEC, Celsius Holdings, Inc. reported that “[o]n May 9, 2018, 100% of the membership
  interests in Midas Commodities Agents Delaware LLC were acquired by Newland Inc. Limited.” Celsius Holdings,
  Inc., Schedule 13G (May 9, 2018), sec.gov/Archives/edgar/data/1341766/000110465918034784/a18-
  13874_1sc13g.htm. Leissner controlled Midas Commodities Agents and admitted to using it to conceal assets. Ng
  Trial Tr. (Mar. 8, 2022) at 2289:19-2291:4.
  70
       X. Justo Decl. ¶¶ 52, 63; L. Justo Decl. ¶¶ 14-16.
  71
       X. Justo Decl. ¶¶ 35-38, 43.
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  me in the media.” 72 And the allegations underlying these charges against Mr. Justo amounted to
  nothing more than an employment dispute about unpaid severance. A Thai political leader
  suspects that the then-Thai Prime Minister formed a “dark alliance with Malaysia” to coordinate
  the arrest of Mr. Justo in 2015 to prevent discovery of the 1MDB scheme. 73 In other words,
  silencing Mr. Justo was the “cause in fact” of his wrongful incarceration and the resulting losses.
  United States v. Marino, 654 F.3d 310, 322-23 (2d Cir. 2011) (interpreting “directly” in §
  3663A(a)(2) as requiring that defendant’s conduct be “but for” cause or “cause in fact” of loss).

          Further, Malaysian officials—specifically Mr. Leissner’s co-conspirator Prime Minister
  Razak and those at his direction—exerted undue influence over Mr. Justo’s prosecution and
  incarceration in Thailand, underscoring that Mr. Justo was detained to protect Mr. Leissner and
  his co-conspirators. Mr. Justo was visited in Thai prison by Malaysian police, and his six highly
  publicized and obviously coerced “confessions” focused on discrediting Ms. Rewcastle Brown’s
  reporting that could implicate Prime Minister Razak. 74 Prime Minister Razak’s influence
  continued during Mr. Justo’s incarceration, when Swiss authorities confirmed that Prime
  Minister Razak visited Thailand to interfere with an agreement between Thailand and
  Switzerland to relocate Mr. Justo to his home country for the remainder of his incarceration. 75

          It was also reasonably foreseeable to Mr. Leissner that his co-conspirators would further
  the crimes of conviction by silencing anyone that threatened to expose the conspiracy. See, e.g.,
  United States v. Washington, 434 F.3d 1265, 1266-70 (11th Cir. 2006) (police department and
  another property owner were MVRA victims as to property damaged during chase of defendant
  fleeing bank robbery because “the need to elude the police after the robbery is a likely and
  foreseeable outcome of the crime”); United States v. Donaby, 349 F.3d 1046, 1054 (7th Cir.
  2003) (same). Mr. Leissner testified that “all the articles” about Mr. Low made it more difficult
  to continue criminal conduct 76 and the success of the charged fraud depended upon avoiding or
  discrediting media attention and continued concealment of Mr. Low’s involvement. 77 In 2013,
  Mr. Leissner himself was already defending against stories circulating about Mr. Low’s
  involvement with 1MDB. At that time, Mr. Leissner blamed the “blogs in Malaysia” that

  72
        L. Justo Decl. ¶ 14 & Ex. 5.
  73
       See Reuters, Banned Thai opposition party says junta helped 1MDB cover-up (Feb. 23, 2020),
  https://www.reuters.com/article/world/banned-thai-opposition-party-says-junta-helped-1mdb-cover-up-
  idUSKCN20H0J7/ (Thai political leaders accusing the military junta and former Thai Prime Minister Prayut Chan of
  desperately seeking legitimacy following their 2014 coup by forming “a dark alliance with Malaysia” to arrest Mr.
  Justo in 2015).
  74
        X. Justo Decl. ¶¶ 55-58, 63.
  75
        X. Justo Decl. ¶ 65; L. Justo Decl. ¶ 15.
  76
       See, e.g., Ng Trial Tr. (Mar. 6, 2022) at 2197 (testifying that “all the articles” around Mr. Low made it more
  difficult to continue criminal conduct).
  77
        See, e.g., Plea Hr’g Tr. at 40:2-9; Ng Trial Tr. (Feb. 24, 2022) at 1159-61; Ng Trial Tr. (Mar. 8, 2022) at 2203-
  06.
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  “always try to link a young Chinese businessman, Jho Low, to 1MDB” and assuring his
  colleagues “[t]hat is not the case other than he was an advisor . . . to the King of Malaysia at the
  time of the creation of 1MDB.” 78 Mr. Leissner knew that efforts to manage this risk included the
  agreement among the co-conspirators to attempt to discredit the very journalist and publication
  that Mr. Justo released the PetroSaudi documents to: Ms. Rewcastle Brown of Sarawak Report. 79
  Press risk remained strong even after Project Catalyze. Mr. Leissner testified that he and Mr. Ng
  continued to fear “any linkage that could establish . . . the team that had been on the inside of . . .
  the scheme that involved Jho. We did not want to have that raised in the public. Because more
  questions asked means more investigations started and things like that.” 80 Then, around the time
  of Mr. Justo’s jailing in 2015, Ms. Rewcastle Brown was also very close to exposing other frauds
  on 1MDB, including an approximately $700 million payment into Prime Minister Razak’s
  personal bank account as a result of Mr. Leissner’s 2013 Project Catalyze bond issuance. 81

          At the time of Mr. Justo’s arrest in 2015, Mr. Leissner was still employed by Goldman
  and he and his co-conspirators continued to maintain that Goldman’s 1MDB transactions were
  legitimate and to engage in criminal conduct in furtherance of the conspiracy, despite increasing
  press scrutiny. 82 In fact, after publication of “Heist of the Century,” Mr. Leissner and his co-
  conspirators’ plans to hold an initial public offering for 1MDB’s power assets to address the
  losses in 1MDB had to be put on hold. 83 Mr. Leissner, in his own words, relied on his co-
  conspirators to “diminish or squash any kind of investigation that could happen otherwise around
  1MDB and the bonds” so that “very little . . . was going to be done about those bonds.” 84 As a
  direct consequence, Mr. Justo incurred substantial losses and must now be made whole for those
  foreseeable injuries. See Paul, 634 F.3d at 676-77 (holding that victim’s losses resulted from
  “significant part of the greater fraud” to which defendant pled guilty); United States v.
  Schwamborn, 542 F. App’x 87, 88-89 (2d Cir. 2013) (defendant “directly and proximately”

  78
       Compl. ¶ 65, United States v. Leissner, No. 18-CR-439 (MKB) (E.D.N.Y. June 7, 2018), ECF No. 1.
  79
      See, e.g., Ng Trial Tr. (Feb. 24, 2022) at 1126:8-1127:10 (testifying that former 1MDB general counsel Jasmine
  Loo was asking for ways to discredit Sarawak Report’s claims).
  80
      Ng Trial Tr. (Mar. 1, 2022) at 1257:17-1258:1, 1262:16-23 (testifying media coverage continued well after
  Project Catalyze).
  81
       Information ¶¶ 41-45; All Funds Compl. ¶¶ 295-98, 337-46; SENSATIONAL FINDINGS! – Prime Minister
  Najib Razak’s Personal Accounts Linked To 1MDB Money Trail MALAYSIA EXCLUSIVE!, Sarawak Report,
  July 2, 2015, https://www.sarawakreport.org/2015/07/sensational-findings-prime-minister-najib-razaks-personal-
  accounts-linked-to-1mdb-money-trail-malaysia-exclusive/.
  82
     Ng Trial Tr. (Feb. 24, 2022) at 1134:13-1136:9; Ng Trial Tr. (Feb. 26, 2022) at 379:6-380:13; Ng Trial Tr.
  (Mar. 1, 2022) at 1259:6-14.
  83
      Ng Trial Tr. (Feb. 24, 2022) at 1130:15-19 (testifying that “on the 1MDB IPO of the energy assets, that
  continued for a while, but it didn’t go through because from a timing perspective the newspaper articles and the
  noise around 1MDB had intensified at some point so much that it just could not be pursued anymore”); see also All
  Funds Compl. ¶¶ 378-80, 404-07.
  84
       See Ng Trial Tr. (Feb. 24, 2022) at 1124:8-1125:9.
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  caused losses under MVRA where the “risk of loss that [defendant] created . . . was ‘within the
  zone of risk’ concealed by the scheme”).

  II.     Mr. Justo is Entitled to Restitution for the Full Amount of His Losses

          Under the MVRA, Mr. Justo is entitled to an amount equal to “the value of the property
  on the date of the damage, loss, or destruction” or “the value of the property on the date of
  sentencing,” whichever is greater, 18 U.S.C. § 3663A(b)(1)(B)(i), and reimbursement for
  “expenses incurred during participation in the investigation or prosecution of the offense or
  attendance at proceedings related to the offense,” 18 U.S.C. § 3663A(b)(4). Property under the
  MVRA includes the loss of intangible property rights. See Bengis, 631 F.3d at 42 n.3 (rejecting
  argument that “offenses against property” are limited to offenses against tangible property like
  money). When valuing lost property, it is well-settled that the MVRA does not require a
  “mathematically precise” loss calculation. United States v. Gushlak, 728 F.3d 184, 195 (2d Cir.
  2013). A “reasonable approximation of losses supported by a sound methodology” is sufficient.
  Id. at 196. Any “[u]ncertainties with respect to the amount in question should be resolved in
  favor of the victim in accord with the statutory focus on making the victim whole.” United
  States v. Romano, 2022 WL 2666914, at *5 (E.D.N.Y. July 11, 2022), aff’d, 2022 WL 17097587
  (2d Cir. Nov. 22, 2022).

           In this case, Mr. Justo is a victim of Mr. Leissner’s broad conspiracies to violate the
  FCPA and launder the proceeds of that crime and suffered numerous losses that were directly
  and proximately caused by the conduct of Mr. Leissner’s co-conspirators. Mr. Justo is entitled to
  restitution of $18,266,909.31, which consists of the following components of loss that were the
  direct and proximate result of Mr. Leissner’s criminal conspiracy. This is a fraction of the $43.7
  million forfeiture money judgment against Mr. Leissner, the Celsius shares he forfeited valued at
  more than $400 million, and the over $1 billion that has been repatriated to Malaysia to offset the
  billions stolen in the 1MDB scandal. 85 Yet Mr. Justo, who wrongfully spent a year and a half in
  jail after courageously releasing the records that led to the revelation of one of the world’s largest
  kleptocracy schemes, has yet to be made whole.

          A.       Mr. Justo is Entitled to Restitution for Unlawful Incarceration Costs

          Mr. Justo incurred approximately $128,500 fighting his unlawful incarceration, including
  lawyer and prison fees, travel and boarding costs for Mr. Justo’s wife and son to visit him in Thai
  prison, costs to validate documents and organize journalists in furtherance of securing
  Mr. Justo’s release, and additional staff to maintain Mr. Justo’s luxury resort in his absence.



  85
       Sentencing Memorandum, ECF No. 87 at 5 (citing PSR ¶¶ 147, 164); U.S. Department of Justice, Justice
  Department Repatriates $1.4B Misappropriated 1MDB Funds to Malaysia (June 13, 2024),
  https://www.justice.gov/archives/opa/pr/justice-department-repatriates-14b-misappropriated-1mdb-funds-malaysia.
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           When the defendant’s criminal conduct includes illegal acts that result in or impact a
  legal proceeding, or otherwise cause the victim to spend money, including for attorneys’ fees or
  other similar costs, that loss is directly related to the crime of conviction and is recoverable under
  the MVRA. See, e.g., United States v. Avenatti, 81 F.4th 171, 210-11 (2d Cir. 2023) (affirming
  restitution award including lawyer fees incurred prior to investigation of the crime); United
  States v. Qurashi, 2009 WL 10677000, at *21-22 (E.D.N.Y. Sept. 1, 2009) (allowing restitution
  for attorneys’ fees paid by insurance companies defending themselves against “sham” civil
  lawsuits), report and recommendation adopted, 2009 WL 10677129 (E.D.N.Y. Sept. 30, 2009),
  aff’d and remanded in part on other grounds, 634 F.3d 699 (2d Cir. 2011); United States v.
  Blackburn, 9 F.3d 353, 358-59 (5th Cir. 1993) (where defendant was convicted of bank fraud
  scheme and “[f]iling a civil suit against [a] bank was part of that scheme,” restitution properly
  included attorneys’ fees as “a direct result of [defendant’s] offense”).

          As in Avenatti, Mr. Leissner’s conspiracy caused Mr. Justo to defend a court proceeding
  and incur substantial out-of-pocket expenses in connection therewith. As a direct and proximate
  result of the wrongful conduct of Mr. Leissner’s co-conspirators, Mr. Justo had to “spend[] his
  own money” on fees that he would not have expended, but for the crime. Avenatti, 81 F.4th at
  210-11. Unfortunately, Mr. Justo does not have records of every expense, but he and his wife
  have conservatively estimated to the best of their ability the total costs incurred, the majority of
  which are supported by the records they were able to identify and attach to their respective
  declarations submitted herewith. The Justos estimate that they incurred approximately $95,000
  in lawyer and prison fees, $12,000 in travel and boarding costs for Mr. Justo’s wife and son to
  visit him in Thai prison, $13,500 in costs to validate documents and organize journalists in
  furtherance of securing Mr. Justo’s release, and $8,000 in additional staff to maintain the luxury
  resort in Mr. Justo’s absence. 86 The records they have been able to identify and the explanation
  for the fees are included in the Justos’ declarations. 87


  86
       X. Justo Decl. ¶ 74; L. Justo Decl. ¶ 19. Undersigned counsel also represents Mrs. Justo, who, while Mr. Justo
  was incarcerated, incurred on his behalf some of the losses and expenses evidenced here, including pursuant to a
  power of attorney he executed in her favor. The MVRA both (i) allows a “family member” of a victim who is
  “incapacitated” to “assume the victim’s rights under this section,” 18 U.S.C. § 3663A(a)(2), and (ii) authorizes
  restitution to a “person who provided . . . compensation” “if a victim has received compensation from insurance or
  any other source with respect to a loss,” id. § 3664(j)(1) (emphasis added). Mrs. Justo should be treated, for
  purposes of the restitution order, as standing in the shoes of Mr. Justo, irrespective of whether Mrs. Justo’s losses
  and expenses on Mr. Justo’s behalf are characterized as (i) an assumption of his rights while he was incarcerated and
  had limited to no ability to manage his finances, communicate with journalists, and generally exercise his freedoms,
  or (ii) an advancement for his losses for which restitution is appropriate. See United States v. Douglas, 525 F.3d
  225, 254 (2d Cir. 2008) (holding restitution appropriate even when third party paid expenses paid directly on
  victim’s behalf); United States v. Hayward, 359 F.3d 631, 642 (3d Cir. 2004) (affirming restitution award to parents
  of victim children for, inter alia, costs in obtaining return of victim children); see also United States v. Bergstein,
  2018 WL 9539768, at *2 n.3 (S.D.N.Y. Sept. 20, 2018) (accepting assignment of restitution claim), aff’d, 788 F.
  App’x 742 (2d Cir. 2019).
  87
       X. Justo Decl. ¶¶ 74-81; L. Justo Decl. ¶¶ 19-24.
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          These expenses were entirely foreseeable to Mr. Leissner. Mr. Leissner testified
  repeatedly that one of the largest threats to the scheme was “criticism in the press and questions
  from the press” around 1MDB’s transactions. 88 To avoid detection, Mr. Leissner admitted to
  knowing that his co-conspirators engaged in efforts to discredit the very journalist to whom Mr.
  Justo gave the PetroSaudi files and “diminish or squash any kind of investigation that could
  happen [] around 1 MDB and the bonds.” 89 Having narrowly averted exposure of 1MDB in late
  2014 following Project Catalyze and Prime Minister Najib Razak’s successful reelection by
  replacing 1MDB’s auditors and further concealing the fraudulent nature of PetroSaudi’s 1MDB
  investment, it was even more critical for Mr. Leissner and his co-conspirators that Mr. Justo be
  discredited to mitigate the impact of the articles published from his release of data incriminating
  1MDB and Mr. Low. Indeed, because of the interconnectedness of the scheme, exposure of any
  one piece of the scheme would quickly topple the whole thing. Mr. Leissner cannot credibly
  argue that he did not know the risks at stake. Mr. Leissner testified that as the conspiracy went
  on, the need to control the press and limit any questions about 1MDB became paramount. 90
  When “Heist of the Century” was published, Mr. Leissner’s co-conspirator represented that the
  article broke the 1MDB fraud and was “emailed throughout the highest echelons of Goldman.” 91
  This further heightened the need to totally eliminate the threat of publicity and investigative
  journalism to the conspiracy. Consequently, Mr. Leissner could reasonably foresee that those
  working with Ms. Rewcastle Brown would suffer losses defending against efforts to discredit,
  diminish, or squash their attempts to expose 1MDB. See Schwamborn, 542 F. App’x at 88-89
  (defendant “directly and proximately” caused losses under MVRA where the “risk of loss that
  [defendant] created . . . was ‘within the zone of risk’ concealed by the scheme”).

           B.       Mr. Justo is Entitled to Restitution for Lost Business Opportunities

          Mr. Justo is entitled to restitution for the loss of business, including to compensate him
  for the loss of value, in his resort and his personal service business from the time he was wrongly
  incarcerated. This loss of business was the direct and proximate result of the actions of
  Mr. Leissner’s co-conspirators, which foreseeably harmed Mr. Justo and led to the forced,
  discounted sale of the resort and loss to Mr. Justo’s personal service business.


  88
       Ng Trial Tr. (Feb. 24, 2022) at 1125:6-9 (testifying that Mr. Ng “expressed his concerns about the press as well,
  that, you know, was being highly critical of our deals. That did not feel comfortable to neither him nor myself.”); id.
  at 1173:25-1174:3 (testifying that increasing negative media was discussed with Mr. Ng “all the time” as a “concern
  because it was really was [sic] a recurring thing”).
  89
      Ng Trial Tr. (Feb. 22, 2022) at 1126:8-1127:10 (testifying that Jasmine Loo, former general counsel to 1MDB,
  was asking “for points to counter the claims that Sarawak [R]eport is making in [an] article”); Ng Trial Tr. (Feb. 24,
  2022) at 1124:8-1125:1.
  90
      Ng Trial Tr. (Mar. 1, 2022) at 1257:17-1258:1, 1262:16-23 (testifying media coverage continued well after
  Project Catalyze).
  91
       Ng MTD at 11, 22-23.
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          Under the MVRA, a defendant is liable for harms “‘within the zone of risk’” of the
  defendant’s scheme. Schwamborn, 542 F. App’x at 88-89. Even where a defendant’s acts are
  several steps removed from the ultimate outcome, the defendant must make the victim whole if
  the defendant is the “but for” cause and the resulting harm “proximately flowed” from the
  defendant’s conduct. Lebedev, 932 F.3d at, 57; see United States v. Glencore Inter. A.G., 2023
  WL 2242469 at *6 (S.D.N.Y. Feb. 27, 2023) (granting restitution for value of lost business
  caused by defendant’s unlawful conduct); United States v. OZ Africa Mgmt. GP, LLC, 2019 WL
  4199904, at *6 (E.D.N.Y. Aug. 29, 2019) (restitution proper to victims who lose “intangible
  property rights” like opportunity to develop mining rights).

         In Lebedev, the Second Circuit affirmed a restitution award to a claimant who was
  harmed by a chain of events that started with a bribe and ultimately led to the failure of a
  financial institution. In that case, the defendant, a chairman of a credit union, accepted bribes to
  allow a cryptocurrency exchange to name a majority of its directors and process its transactions
  through the credit union, which subsequently collapsed. 932 F.3d at 46-47. The district court
  concluded that, but for the bribery scheme, the credit union would not have begun to rely on fees
  from automated clearing house transactions and other unsafe practices, most of which were
  conducted by others after the bribe was paid and after the conspiracy for which the defendant
  was convicted. Id. at 57. The court ordered the defendant to pay restitution to the credit union’s
  regulator for the losses it incurred when the credit union had to be taken over and liquidated.
  The Second Circuit rejected the defendant’s argument on appeal that the restitution award was
  based on losses that were too remote in time and unrelated to the charged conduct, holding that it
  was within the district court’s discretion to conclude that the credit union’s “financial difficulties
  proximately flowed from” the bribery. Id.

          Here too, the losses to Mr. Justo proximately flowed from Mr. Leissner’s criminal
  conspiracy, which included wrongfully subjecting Mr. Justo to criminal proceedings and
  discrediting him to squash discovery of the scheme. As set forth in the declarations of Mr. and
  Mrs. Justo, at the time of his arrest, Mr. Justo was close to opening the Baan Shanti Resort on
  Koh Samui Island that he had purchased and renovated into a luxury resort to operate as a
  business. 92 After Mr. Justo was incarcerated, he could no longer maintain or open the resort.
  Then, the safety of his wife and child were threatened and, given the limited probability of his
  release, Mr. Justo was forced to sell the resort on short notice and at a discounted price. 93 After
  his release and return to Switzerland, Mr. Justo was informed that he would be refused entry to
  Thailand for the next hundred years, further confirming that it would have been impossible for
  him to continue operating the resort. 94 While in Thailand, Mr. Justo had also established Justo
  Consulting (HK) LTD under which he could provide financial consulting services, drawing on

  92
       X. Justo Decl. ¶¶ 82-87.
  93
       X. Justo Decl. ¶¶ 87-90; L. Justo Decl. ¶¶ 25-33.
  94
       X. Justo Decl. ¶ 67.
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  his track record as a finance industry professional. 95 While he was in prison, Mr. Justo had to
  shut down the business and, after his release, Mr. Justo could not return to a career as a finance
  industry professional. 96 Mr. Justo describes his efforts to rebuild his personal service business
  after he was wrongfully imprisoned and explains that since then he has not earned more than
  50,000 Swiss Francs a year, despite having earned salaries more than double that prior to the
  injuries he suffered. 97 Because Mr. Justo’s losses are directly traceable to Mr. Leissner’s
  scheme, Mr. Leissner should compensate Mr. Justo for the lost value of the resort and the
  personal service business. See Lebedev, 932 F.3d at 57 (requiring defendant to pay its regulator
  restitution for losses it incurred as a result of the failure of a credit union flowing from
  defendant’s misconduct); OZ Africa Mgmt. GP, LLC, 2019 WL 4199904, at *6 (collecting cases
  and noting that “[c]laimants lost a promising [business] opportunity . . . while th[e] uncertainty
  makes calculating restitution more difficult, it does not preclude [c]laimants from being
  victims”).

          Furthermore, these losses proximately flowed from the actions of Mr. Leissner’s co-
  conspirators. The same individuals that ensured Mr. Justo was imprisoned also made sure to
  interfere with his resort and publicly discredit him. Mr. Mahony feigned interest in helping Mrs.
  Justo sell the resort, just to string her along further with the ruse that PetroSaudi would rescue
  Mr. Justo from prison. 98 As for Mr. Justo’s lost personal service business, the focus of
  imprisoning him and coercing his confessions was to prop up a false narrative, allowing those
  syphoning money through 1MDB to retain—and gain more—ill-gotten funds. Mr. Justo was
  also forced to spread lies through additional journalists about Ms. Rewcastle Brown and discredit
  what she had published. 99 PetroSaudi even hired a Swiss lawyer to represent both Mr. Justo and
  PetroSaudi—his accuser—and had the lawyer speak to the Swiss press to further publicize the
  false 1MDB narrative. 100 Mr. Justo’s contrived criminal conviction had lasting, direct impacts
  on Mr. Justo’s personal service business.

          The loss of Mr. Justo’s businesses has been reasonably approximated by expert Gene B.
  Phillips in his report attached hereto. In his report, Mr. Phillips values Mr. Justo’s loss in the
  Baan Shanti Resort and the lost business opportunities he has suffered. As to the first calculation
  of the value of the loss of the Baan Shanti Resort, Mr. Phillips begins with a valuation of the
  Baan Shanti Resort by a chartered surveyor from January 29, 2014. Id. He then scales this value
  to an equivalent June 2015 valuation in accordance with the growth of the Bank of Thailand’s
  Residential Property Price Index and Land Price Index. Id. This process added roughly 8.6% to

  95
        X. Justo Decl. ¶¶ 95-99.
  96
        X. Justo Decl. ¶¶ 95-106; L. Justo Decl. ¶¶ 26-27.
  97
        X. Justo Decl. ¶¶ 6-8, 102-09.
  98
        L. Justo Decl. ¶ 27.
  99
        X. Justo Decl. ¶ 58.
  100
        X. Justo Decl. ¶ 62.
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  the January 2014 valuation to convert it to a June 2015 equivalent. Id. Consistent with the
  MVRA, Mr. Phillips then reduces the loss amount by the cash recovered by Mr. Justo from the
  forced sale of the Baan Shanti Resort. Id. In total, according to this conservative methodology,
  Mr. Phillips estimates Mr. Justo lost $2,184,250 in the forced sale of the resort as of the time of
  the crime. Id.

          As to the second calculation of the value of the loss of the professional business
  opportunities, Mr. Phillips considers Mr. Justo’s track record as a finance industry professional
  to value what he lost as a result of the criminal conduct that culminated in his imprisonment and
  precluded him from returning to the market as a finance industry professional. Id. Mr. Phillips
  conservatively assumes that Mr. Justo would have been able to earn at least 500,000 Swiss
  Francs per annum as a starting point from 2015 for his total annual compensation package as an
  experienced finance industry professional. Id. To determine the loss to Mr. Justo when he was
  unable to earn that amount, Mr. Phillips calculates the delta between that salary and Mr. Justo’s
  real-world earning potential after his arrest and conviction as a median professional in
  Switzerland. Id. In Mr. Phillips’ analysis, Mr. Justo’s finance industry professional earning
  potential increases by approximately 0.9% per annum, while his real-world earnings potential
  increases by 1.4%, for each year after 2015 based on historical figures showing a commensurate
  growth in prior years. Id. In total, with this conservative methodology, Mr. Phillips estimates
  Mr. Justo lost $7,341,476 as of the time of the crime. Id. The Court should include these
  amounts in its restitution award.

            C.       Mr. Justo is Entitled to Restitution for 1MDB Investigation Expenses

         While Mr. Justo was incarcerated, his wife traveled to London to share information with
  the FBI on Mr. Justo’s behalf. 101 The airfare for the visit was $1,054.02 and is reimbursable as
  an expense “incurred during participation in the investigation or prosecution of the offense”
  under 18 U.S.C. § 3663A(b)(4).

            D.       Mr. Justo is Entitled to Prejudgment Interest to Make Him Whole

        A 9% per annum pre-judgment interest on the base restitution amount will fully
  compensate Mr. Justo for the loss of the ability to put his money to productive use.

          It is well-settled that, under the MVRA, prejudgment interest may be awarded as a
  component of restitution to “ensure compensation ‘in the full amount of each victim’s losses.’”
  Qurashi, 634 F.3d at 704 (quoting 18 U.S.C. § 3664(f)(1)(A)). The purpose of prejudgment
  interest is to make victims whole by compensating them for “the loss of the ability to put their
  money to productive use.” Id. at 705; United States v. Jaffe, 314 F. Supp. 2d 216, 224 (S.D.N.Y.



  101
        L. Justo Decl. ¶¶ 35-39.
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  2004) (explaining that restitution should reflect the loss of a victim’s “use and benefit of” funds),
  aff’d, 417 F. 3d 259 (2005).

          In the Second Circuit, “‘[t]he rate of pre-judgment interest is within the broad discretion
  of the district court.” New York Marine & Gen. Ins. Co. v. Tradeline (L.L.C.), 266 F.3d 112, 131
  (2d Cir. 2001). Where a federal statute, such as the MVRA, is silent on the applicable
  prejudgment interest rate, the “‘common practice’ among courts within the Second Circuit is to
  grant interest at a rate of 9%, the rate of prejudgment interest under New York State law.’”
  Garden City Boxing Club, Inc. v. Morales, 2005 WL 2476264, at *10 (E.D.N.Y. Oct. 7, 2005)
  (citation omitted). In Jaffe, the court applied the New York statutory rate to an MVRA award for
  victims of bank fraud, explaining that “[a] nine percent interest rate is standard” in districts of
  this Circuit “for all kinds of commercial cases, including cases requiring restitution.” 314 F.
  Supp. 2d at 224.

          Courts frequently apply New York’s 9% prejudgment interest rate in cases involving
  federal statutes that do not specify an applicable rate. See, e.g., SEIU, Loc. 32BJ v. Dayton
  Beach Park No. 1 Corp., 2019 WL 120998, at *4 (S.D.N.Y. Jan. 4, 2019) (“Since the [Labor
  Management Relations Act] is silent with respect to interest rate, ‘the common practice among
  courts within the Second Circuit is to grant interest at a rate of nine percent per annum . . . .’”);
  Olaf Sööt Design, LLC v. Daktronics, Inc., 406 F. Supp. 3d 328, 355-56 (S.D.N.Y. 2019) (same,
  in federal patent cases), rev’d in part on other grounds, 839 F. App’x 505 (Fed. Cir. 2021); Perez
  v. Progenics Pharms., Inc., 204 F. Supp. 3d 528, 546-47 (S.D.N.Y. 2016) (applying New York’s
  statutory rate to claim under Sarbanes-Oxley Act).

          As the court in Jaffe explained, the 9% prejudgment interest rate is appropriate in the
  MVRA context because restitution “is intended to return to the victim that which was wrongfully
  wrested from him and, since he was deprived of the use and benefit of his funds, restitution
  should reflect that loss as well.” 314 F. Supp. 2d at 224; see also Alfano v. Cigna Life Ins. Co. of
  NY, 2009 WL 890626, at *7 (S.D.N.Y. Apr. 2, 2009) (finding that prejudgment interest should
  be calculated applying New York’s statutory 9% rate, which more accurately captured the “true
  loss to [the] plaintiff”). The reasoning in Jaffe supports a similar outcome here: applying the 9%
  interest rate to the base restitution amount yields a result that closely approximates the financial
  harm Mr. Justo suffered when he became an intended victim of Mr. Leissner’s admitted
  participation in the 1MDB scheme.

          Hence, a simple interest rate of at least 9%, calculated through the date of sentencing, is
  necessary to fully compensate Mr. Justo for the loss of the ability to put his money that he would
  have had as cash to productive use. For these reasons, the Court should award pre-judgment
  interest on the following amounts:

     •   $87,801.29 in pre-judgment interest on the unlawful incarceration costs, together with the
         $128,500 unlawful incarceration costs, totals $216,301.29;
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     •   $6,569,313 in pre-judgment interest for the ten-year period from the loss of the
         professional business opportunities, together with the $7,341,476 lost business, totals
         $13,910,789; and

     •   $1,954,515 in pre-judgment interest for the ten-year period from the loss of the resort,
         together with the $2,184,250 loss of the resort, totals $4,138,765.

                                           CONCLUSION

         For the above reasons, Mr. Justo is entitled to restitution of $18,266,909.31 for losses that
  were the direct and proximate result of the conspiracies to which Mr. Leissner pled guilty.

                                                       Respectfully submitted,


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